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                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS
                                       EL PASO DIVISION

LEAGUE OF UNITED LATIN                                  §
AMERICAN CITIZENS, et al.,                              §
                                                        §
                   Plaintiffs,                          §
                                                        §
EDDIE BERNICE JOHNSON, et al.,                          §        EP-21-CV-00259-DCG-JES-JVB
                                                                         [Lead Case]
                                                        §
                   Plaintiff-Intervenors,               §
                                                                                   &
v.                                                      §
                                                        §              All Consolidated Cases
GREG ABBOTT, in his official capacity as                §
Governor of the State of Texas, et al.,                 §
                                                        §
                   Defendants.                          §

         ORDER GRANTING MOTIONS TO VOLUNTARILY DISMISS CLAIMS

        The LULAC Plaintiffs move to voluntarily dismiss some (but not all) of their claims and

thereby “narrow the issues in dispute prior to trial.”1 Defendants do not oppose the Motion.2

        The Court therefore GRANTS the “LULAC Plaintiffs’ Unopposed Motion to Voluntarily

Dismiss Claims” (ECF No. 951).

        The Court likewise GRANTS the “LULAC Plaintiffs’ Unopposed Motion to Voluntarily

Dismiss Claim” (ECF No. 957).




        1
             See 1st Mot. Voluntarily Dismiss, ECF No. 951, at 1; 2d Mot. Voluntarily Dismiss, ECF No.
957, at 1.
        2
             See 1st Mot. Voluntarily Dismiss at 1, 3; 2d Mot. Voluntarily Dismiss at 1, 3.


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      The Court thereby DISMISSES the LULAC Plaintiffs’ challenges to the following

districts WITHOUT PREJUDICE:

      (1)       Congressional Districts 15 and 27;

      (2)       State Board of Education District 6;

      (3)       Senate Districts 9, 25, and 27; and

      (4)       House Districts 37 and 129.3

      The LULAC Plaintiffs’ other claims REMAIN LIVE. The LULAC Plaintiffs shall

therefore REMAIN DESIGNATED as active Plaintiffs in this case.



      So ORDERED and SIGNED this 7th day of May 2025.




                                                     ____________________________________
                                                     DAVID C. GUADERRAMA
                                                     SENIOR U.S. DISTRICT JUDGE



                                           And on behalf of:

           Jerry E. Smith                                                Jeffrey V. Brown
     United States Circuit Judge                   -and-            United States District Judge
 U.S. Court of Appeals, Fifth Circuit                                Southern District of Texas




      3
          See 1st Mot. Voluntarily Dismiss at 1; 2d Mot. Voluntarily Dismiss at 1.


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